Case 2:24-cv-00364-AKB Document 5 ‘Filed 09/05/24 Page 1 of 12

U.S. COURTS
UNITED STATES DISTRICT COYRT SEP 05 20a4
nanan led.
for the STEPHEN Wie eee TTS
District of Idaho CLERK, DISTAICT OF Stuy
Nathanael Donald Lewis )
)
Plaintiff )
} Case No: 2:24-cv-364
Vv. )
)
Astony L. Blinken, in his Official J
capacity as Secretary of State, et al, )
)
PROOF OF SERVICE

I, Lawrence Donald Lewis, hereby declare that on the 26th day of August, 2024, I received a
printout of the United States Postal Service package tracking website whereby the complaint,
motion to compel, and all exhibits as reported in my certificates of service by mail, we received
by the partics listed below. USPS tracking is attached herewith, and I certify under penalty of
perjury that the information is authentic as reported on the USPS website. The parties received

~ the complaint, etc., today, August 26, 2024, according to the tracking information below and the
attached USPS report:

Antony L, Blinken
Certified mail #7019 2970 0001 0479 9788 (pages 2 and 3 of 11, attached)

Attorney General Merrick Garland
Certified mail #7019 2970 0001 0479 9771 (pages 4 and 5 of 11, attached)

Paul Peek
Certified mail #7019 2970 0001 0479 9795 (pages 6 and 7 of 11, attached)

Scott M. Milles
Certified mail #7019 2970 0001 0479 9801 (pages 8 and 9 of 11, attached)

Celeste F.
Certified mail # 7019 2970 0001 0479 9818 (pages 10 and 11 of 11, attached)

dich the lawg.of the J nited States,

0 hI AD & 3

Lawrence Donald Lewis
966 Bourbon Lane
Nordman, Idaho 83848

Proof of Service, Lewis v. Blinken, et al, p. l of 11
Case 2:24-cv-00364-AKB Document5 Filed 09/05/24 Page 2 of 12

USPS Tracking’ Fags >

Tracking Number: Remove X

70192970000104 799788

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Latest Update

Your item was picked up at a postal facility at 5:54 am on August 26, 2024 in WASHINGTON, DC 20621.

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USPS Tracking Plus®

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Delivered
Delivered, Individual Picked Up at Postal Facility

WASHINGTON, DG 20521
August 26, 2024, 5:54 am

® Redelivery Scheduled far Next Business Day

WASHINGTON, DG 20521
August 24, 2024, 14:21 am

® Arrived at Post Office

WASHINGTON, DG 20018
August 24, 2024, 5:26 am

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i August 20, 2024

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@ geparted USPS Regional Facility ~ co ) -

SPOKANE WA DISTRIBUTION CENTER. * "ow

August 16, 2024, 4:52 am vO

® Arrived at USPS Regional Origin Facility
SPOKANE WA DISTRIBUTION CENTER —

Proof of Service, Lewis v. Blinken, et al., p, 2 of 4
Case 2:24-cv-00364-AKB Document5 Filed 09/05/24 Page 3 of 12
August 15, 2024, 10:38 pm

Departed Post Office

@
NGRDMAN, ID 83848
August 15, 2024, 2:27 pm
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USPS In possession of item

NORDMAN, ID 83848
August 15, 2024, 1:15 pm

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What Do ISPS Tracking Statuses Mean? (https://fag.usps.com/s/article/Where-is-my-package)

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Contact USPS Tracking support for further assistance.

FAQs

Proof of Service, Lewis v. Blinken, et al., p. 3 of 11
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Your item was picked up at a postal facility at 5:02 am on August 26, 2024 in WASHINGTON, DC 20630,

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WASHINGTON, DC 20530
August 26, 2024, 5:02 am

© Redelivery Scheduled for Next Business Day

WASHINGTON, DG 20530
August 24, 2024, 10:36 am

® Arrived at Post Office

WASHINGTON, DC 20018
August 24, 2024, 7:41 am

© in Transit to Next Facility
August 20, 2024

® Departed USPS Regional Facility

SPOKANE WA DISTRIBUTION CENTER
August 16, 2024, 4:52 am

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Proof of Service, Lewis v. Blinken, et al., p, 4 of 14
Case 2:24-cv-00364-AKB Document5 Filed 09/05/24 Page 5 of 12
August 15, 2024, 10:38 pm

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August 15, 2024, 2:27 pm

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August 15, 2024, 1:16 pm

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Proof of Service, Lewis v. Blinken, et al., p. 5 of 14
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WASHINGTON, DC 20521
August 26, 2024, 5:54 am

® Redelivery Scheduled for Next Business Day

WASHINGTON, DC 20521
August 24, 2024, 11:21 am

® Arrived at Post Office

WASHINGTON, DG 20018
August 24, 2024, 5:26 am

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August 20, 2024

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August 16, 2024, 4:52 am

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Proof of Service, Lewis v. Blinken, et al,, p. 6 of 11
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Case 2:24-cv-00364-AKB Document5 Filed 09/05/24 Page 7 of 12
August 15, 2024, 10:38 pm

Departed Post Office

NORDMAN, ID 83848
August 15, 2024, 2:27 pm

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NORDMAN, ID 83848
August 15, 2024, 1:18 pm

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Text & Email Updates

USPS Tracking Plus® “~~

Your item is eligible for USPS Tracking Plus. This feature allows you to buy extended access to your
tracking history and receive a statement via email upon request. Without this feature, your regular tracking
history Is only available on this site until August 16, 2026. To extend your access to this tracking history,
select the length of time you would like and confirm your selection. You can only purchase extended
history orice, so all orders are final and are not eligible for a refund.

Note: For multiple tracking numbers, you can save and continue adding USPS Tracking Plus selections to
your cart until you are ready to complete your purchase.

3 Years

$3.75

5 Years

$4.75

7 Years

$5.75
10 Years

[| i have read, understand, and agree to the Terms and Conditions.
(htips://www.usps.com/terms-conditions/tracking-plus.htm)

Proof of Service, Lewis v. Blinken, et al., p. 7 of 11
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WASHINGTON, DG 20524
August 26, 2024, 5:54 am

Redelivery Scheduled for Next Business Day

WASHINGTON, DC 20521
August 24, 2024, 11:21 am

Arrived at Post Office

WASHINGTON, DG 20018
August 24, 2024, 6:26 am

In Transit to Next Facility
August 20, 2024

Departed USPS Regional Facility

SPOKANE WA DISTRIBUTION CENTER
August 16, 2024, 4:52 am

Arrived at USPS Regional Origin’ Facility -
SPOKANE WA DISTRIBUTION CENTER

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Proof of Service, Lewis v. Blinken, et al, p. 8 of 14
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August 15, 2024, 10:38 pm

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August 15, 2024, 2:27 pm

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August 26, 2024, 5:54 am

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August 24, 2024, 14:21 am

@ Arrived at Post Office

WASHINGTON, DC 20018
August 24, 2024, 6:26 am

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August 16, 2024, 4:52 am

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Proof of Service, Lewis v. Blinken, et al,, p. 10 of 14
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August 15, 2024, 2:27 pm

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